         Case 1:18-cr-10364-DPW Document 18 Filed 09/17/19 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
                                       __________

                                       No. 19-mj-1261-DLC
                                           __________

                                        UNITED STATES

                                                 v.

                                    GENOVEVA ANDRADE,
                                         Defendant
                                        __________

         MOTION FOR ORDER DIRECTING GOVERNMENT TO PRODUCE
          SPECIAL AGENT DE LAIR AND SPECIAL AGENT LEMANSKI
                AT THE CONTINUED PRELIMINARY HEARING


       Pursuant to Fed. R. Crim. Proc. 5.1, the defendant Genoveva Andrade moves the Court

for an order directing the government to produce FBI Special Agent Sarah De Lair and IRS

Special Agent Sandra Lemanski to appear and testify at a continuation of the preliminary

hearing. In support of this motion, the defendant states:

   1. At the first day of the preliminary hearing, the government called IRS Special Agent

       Zachariah Marino. Marino was first involved in the investigation on September 5, 2019,

       when he became part of the arrest team. To prepare for the hearing, Agent Marino

       merely read the affidavit in support of the complaint and verified with Agent Lemanski

       that she prepared Exhibit 1 from an analysis of bank records. He testified that he had no

       knowledge of the identity of the middlemen or the marijuana vendors, the circumstances

       of their statements as described in the Affidavit, or their deals.

   2. Rule 5.1’s purpose is to give a defendant a chance to test the affidavit’s showing of

       probable cause. See 2002 Advisory Committee Note.
     Case 1:18-cr-10364-DPW Document 18 Filed 09/17/19 Page 2 of 4



3. The 2002 Advisory Committee Note make it perfectly clear that the preliminary hearing

   is more than simply an argument about the sufficiency of the complaint affidavit:

            First, the title of the rule has been changed. Although the
            underlying statute, 18 U.S.C. § 3060, uses the phrase preliminary
            examination, the Committee believes that the phrase preliminary
            hearing is more accurate. What happens at this proceeding is more
            than just an examination; it includes an evidentiary hearing,
            argument, and a judicial ruling. Further, the phrase preliminary
            hearing predominates in actual usage.

4. The Rule itself clearly contemplates that the government is required to present a witness.

   Rule 5.1(e) provides, in relevant part, “Hearing and Finding. At the preliminary

   hearing, the defendant may cross-examine adverse witnesses and may introduce evidence

   . . .”

5. In order to have a fair chance at contesting the probable cause showing of the affidavit, a

   defendant must be permitted to question a witness, either on cross or direct, to see if the

   Affidavit presents a complete picture of the events described.

6. For instance, the Affidavit describes Middleman 2 (David Hebert) as stating that the

   defendant told him that she had to give Mayor Correia half of her salary to get and keep

   her job. We now know that Hebert has pled guilty to an Information, admitting that he

   made false statements to law enforcement officials on January 15, 2019. He also pled

   guilty to committing extortion and conspiracy to commit extortion. The defendant should

   be permitted to question the agents as to whether Hebert made false statements to them

   about Andrade, his promises, rewards, and inducements, and the sequence of disclosures

   about Andrade.

7. The Affidavit describes MJ Vendor 4 (Charles Saliby) as claiming that Andrade was


                                             2
        Case 1:18-cr-10364-DPW Document 18 Filed 09/17/19 Page 3 of 4



      present when the Mayor demanded $250,000 from Saliby. And he says she was present

      when the Mayor said he would reduce the annual $50,000 payment to the City to $25,000

      if Saliby would give him the $25,000 instead. The defendant wants to question the

      agents about the circumstances of Saliby’s statements about Ms. Andrade, the timing of

      those disclosures, and what promises, rewards, and inducements have been made to

      Saliby.

   8. The Affidavit claims that Marijuana Vendor 5 (Christopher Harkins) claimed that Ms.

      Andrade told him that she had to give the Mayor half of her salary in order to get and

      keep her job. The defendant wants to question the agents about what promises, rewards,

      and inducements have been made to Harkins, and the circumstances surrounding his

      offering statements about Ms. Andrade.


                                           Respectfully submitted
                                           The defendant Genoveva Andrade
                                           By her attorney

                                           /s/ Charles W. Rankin

                                           ________________________
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September 17, 2019




                                               3
         Case 1:18-cr-10364-DPW Document 18 Filed 09/17/19 Page 4 of 4



                                CERTIFICATE OF SERVICE

       I hereby certify that this document(s) filed through the Electronic Filing System
(CM/ECF) will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-participants on
September 17, 2019.

                                             /s/Charles W. Rankin
                                             Charles W. Rankin




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